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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-02981-MSK-KMT
   TECH INSTRUMENTATION, INC., a Colorado corporation, individually and on behalf of all
   others similarly situated,
                         Plaintiff
   v.

   EURTON ELECTRIC COMPANY, INC., a California corporation
                         Defendant

                           DEFENDANT’S RESPONSE TO
                  NOTICE RE PLAN TO ASCERTAIN CLASS MEMBERS




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                               MEMORANDUM OF POINTS AND AUTHORITIES
   I.             INTRODUCTION
                  Plaintiff concedes there are no fax logs reflecting faxes to its class, but still asserts it can
   identify class members. However, “no circuit court has ever mandated certification of a TCPA
   class where fax logs did not exist, and we decline to be the first.” Sandusky Wellness Center,
   LLC v. ASD Specialty Healthcare, Inc., 863 F.3d 460, 470-71 (6th Cir. 2017). The Court should
   follow Sandusky and reject Plaintiff’s plan to identify class members and decertify the class.
   II.            BACKGROUND
                  A.      The Class
                  The Court’s May 29, 2018 Order certified the following class:

                  Any person/entity who:

                  1) Received a cold call from Eurton pursuant to its
                     three-step procedure; and
                  2) Is listed on a list prepared by Eurton and supplied to WestFax; and
                  3) Received one or more faxes sent by Eurton or WestFax between
                     December 16, 2013 through the date notice is sent to the Class.

   (Dkt. 47 at 6) The Court’s September 9, 2021 Order denying Eurton’s Motion to
   Decertify modified the class definition:

                  Any person/entity who: (i) received a cold call from Eurton pursuant to
                  its three-step procedure; (ii) is listed on a list prepared by Eurton and supplied to
                  WestFax; and (iii) received one or more faxes faxed advertisements sent by
                  Eurton or WestFax between December 16, 2013 through the date notice is sent to
                  the class.”
   (Dkt 102 at 20, n.10) (strikethrough added.)
                  B.      Notice to the Class
                  Prior the sending of notice to the class, Plaintiff and Eurton disputed the data that should
   be used to populate the class list. Eurton requested that the recipients of the class notice should
   be based upon the fax list and fax logs, instead of Plaintiff's customer list of 7,500 persons.
                  In ruling on the dispute, the Court held as follows:




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                          “[E]urton has produced three collections of information that ‘can be used
                  to locate class members’:

                          (i)    its ‘accounting database system,’ that lists all persons and entities
                  (including fax numbers) that have done business with Eurton;

                         (ii)    the ‘potential customer/actual customer spreadsheet’ that “captures
                  both potential customers as well as actual customers” (including actual customers
                  who might not have been entered into the accounting database); and

                          (iii)   Eurton’s ‘fax list,’ which Tech concedes “represents a significant
                  portion of the class in this case,” but which may be either over-inclusive (because
                  it includes persons who may have expressly authorized Eurton to send fax
                  advertisements) or under-inclusive (because it omits persons who received
                  unsolicited faxes and who contacted Eurton asking to be removed.)
                  The Court therefore directed that class notice be sent to the following persons or entities:
                  (i)   those listed on Eurton’s 2017 fax logs;
                  (ii)  those listed on any existing iteration of Eurton’s “fax list”; and
                  (iii) those who do not meet either of the first two criteria, but who are noted as
                        having a fax number in either Eurton’s accounting database or on its
                        potential customer/actual customer spreadsheet.
   (Dkt 72 at 4)
                  For the purposes of class notice, Eurton produced data relating to (ii) those listed on any
   existing iteration of Eurton’s “fax list” and (iii) those who do not meet either of the first two
   criteria, but who are noted as having a fax number in either Eurton’s accounting database or on
   its potential customer/actual customer spreadsheet. (Declaration of John Buchanan ¶¶ 21-23.)
   Eurton did not have any 2017 fax logs other than fax attempts to verify the persons under (ii)
   and (iii) post- lawsuit. (Buchanan Decl. ¶ 22.)
                  On January 30, 2020, notice was sent to the first set of class members (associated with
   1,498 fax numbers in the fax list) set forth in EE001-33 (See Dkt. 86 at 3.) (Buchanan Decl. ¶
   20) Notice was sent to the second class list on June 12, 2020, which were names in the database
   that did not overlap with the “fax list” set forth in EE001-33. (Buchanan Decl. ¶ 21) The persons
   that received notice is overinclusive because many of the persons identified in the Second List
   were not sent faxes. The persons in Eurton’s customer database that do not overlap with its fax
   list that were in the second list were likely not faxed. (Buchanan Decl. ¶¶ 32-34 ).

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   III.           ARGUMENT
                  The Sixth Circuit in Sandusky, 863 F.3d at 472–73 rejected the same proposal Plaintiff
   makes here to identify class members—that TCPA fax class members self-identify via affidavit.
   (Dkt 106 at 3-4) (citing Mullins v. Direct Digital, LLC, 795 F.3d 654, 668–69 (7th Cir. 2015)).
                  Moreover, the Seventh Circuit in Mullins specifically acknowledged that post-
   certification difficulty in identifying class members could lead to decertification. Mullins, supra,
   at 664 (“In addition, a district judge has discretion to (and we think normally should) wait and
   see how serious the problem [of identifying particular class members] may turn out to be after
   settlement or judgment, when much more may be known about available records, response rates,
   and other relevant factors. And if a problem is truly insoluble, the court may decertify the class at
   a later stage of the litigation.”). So did this Court: “If the Court concludes that Tech’s method is
   unreliable, seriously overbroad, or inefficient compared to other possible ways of adjudicating
   the controversy, the Court may choose to decertify the class or modify the class definition at that
   time.” (Dkt 102 at 21 (citing Mullins, 795 F.3d at 664)).
                  Plaintiff’s plan to ascertain class members does not address “insoluble” problems and
   should be rejected for the reasons set forth below.
                  A.     Not All Persons Provided Notice are Class Members
                  Plaintiff’s class is “seriously overbroad.” Eurton asserts it was extremely unlikely the
   2,378 persons in Eurton’s database that do not overlap with the Initial List were ever faxed. The
   Initial List was primarily based on the Tools List for Mailing 5-2009, and the Tool List in
   question was generally Eurton’s running record of persons actually faxed. (Buchanan Decl. ¶ 33)
                  Just because Eurton possessed names, address, telephone numbers, fax numbers in the
   database did not mean they were faxed. (Buchanan Decl. ¶ 34) For the same reason, not
   everyone in the database was mailed or called on the phone. (Buchanan Decl. ¶ 34) It was
   simply a database. (Buchanan Decl. ¶ 34) The fact that the Initial List does not wholly overlap
   with the database bears this out. (Buchanan Decl. ¶ 34)
                  Eurton asserts that at a minimum, these 2,378 persons set forth the in Supplemental List

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   should be excluded from class membership.
                  B.     The Age of this Lawsuit Argues Against Self-Identification
                  Plaintiff’s self-identifying process should be rejected given the age of this case. In,
   Sandusky, the district court recognized that its own proffered solution—having class members
   submit individual affidavits testifying to receipt of the Prolia fax—was not feasible, concluding
   that the reliability of an individual’s recollection of having received a seven-year-old, single-
   page fax would be dubious at best. 863 F.3d at 473.
                  The Court in Sandusky also noted that the district court acknowledged it was possible that
   all 53,502 intended recipients might submit affidavits claiming receipt of the Prolia fax and their
   entitlement to $500 in damages. Id. “Finding out which quarter of these individuals were being
   untruthful would require scrutinizing each affidavit and would undoubtedly be a difficult
   undertaking.” Id.
                  The Sixth Circuit in Sandusky distinguished Mullins and Briseno—which suggested that
   a district court may rely on affidavits to identify class members, noting those decisions do not
   mandate that it must do so.                      In doing so, the Court in Sandusky held that
   even Mullins contemplated that “[a] plaintiff’s failure to address the district court’s concerns
   adequately [with regards to difficult manageability problems] may well cause the plaintiff to
   flunk the superiority requirement of Rule 23(b)(3).” See Mullins, 795 F.3d at 672. “That is
   exactly the scenario we have here.” Id.
                  Plaintiff’s cited authority, Birchmeier v. Caribbean Cruise Line, Inc., 302 F.R.D. 240
   (N.D. Ill. 2014), is not to the contrary. There, the plaintiff already possessed a list of telephone
   numbers associated with the defendant in proposing to use affidavits and phone records to
   document each individual call received and the telephone number of each caller. Id. at 248,
   256. (emphasis added). No such list exists here.
                  Plaintiff’s proposal that self-identifying affidavits for faxes received as far back as eight
   years ago (December 16, 2013 through date of class notice) should be rejected. This is the very
   type of “unwieldy” plan that the Court directed Plaintiff not to make.

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                  C.     The Amount at Issue Argues Against Self-Identification
                  Notwithstanding the age of this case, Plaintiff’s “self identifying” class proposal does not
   work when statutory damages are so high. Wilson v. Badcock Home Furniture, 329 F.R.D. 454,
   458 (M.D. Fla. 2018). The Court in Wilson denied certification of a TCPA call class when the
   plaintiff made a similar proposal regarding self-attestation. In doing so, it distinguished Mullins:

                  [W]hile an affidavit certifying inclusion in a class might be appropriate in some
                  cases where damages for an individual claimant are negligible, see e.g., Mullins v.
                  Direct Digital, LLC, 795 F.3d 654, 667 (7th Cir. 2015), here Defendant could
                  face up to $ 1500 per call. This amount is relevant both as an incentive for
                  individuals to improperly enter the class and, as discussed more fully below, a
                  danger that impacts due process protections for Defendant.
   Id.
                  The Court in Wilson went on:

                   (“[A]llowing class members to self-identify without affording defendants the
                  opportunity to challenge class membership provide[s] inadequate procedural
                  protection to ... [d]efendant[s] and implicate[s their] due process rights[, but]
                  protecting defendants' due-process rights by allowing them to challenge each
                  claimant's class membership is administratively infeasible, because it requires a
                  series of minitrials just to evaluate the threshold issue of which [persons] are class
                  members.”) (alterations in original) (internal quotation marks and citations
                  omitted).

   Id. (citing Karhu v. Vital Pharms., Inc., 621 F. App'x 945, 948-949 (11th Cir. 2015)1. Compare
   Mullins, 795 F.3d at 667 (“In this case, for example, the value of each claim is approximately
   $70 (the retail price)”.
                  The Court in Sandusky also cited the amount at issue (863 F.3d at 473) was part of the
   reason self-identification was problematic. To extent Plaintiff seeks $500 to $1,500 per fax, such
   figures would likely induce some class members to misrepresent receiving a fax.                         Self-
   identification does not solve this issue.



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    Although the 11th Circuit has clarified there is not a standalone ascertainability requirement it is
   still part of the manageability analysis. Rensel v. Centra Tech, Inc., 2 F.4th 1359, 1361 (11th Cir.
   2021).
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                  D.     Plaintiff’s Plan Must Address Article III Standing
                  Every class member must have Article III standing in order to recover individual
   damages. “Article III does not give federal courts the power to order relief to any uninjured
   plaintiff, class action or not.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2208, 210 L. Ed. 2d
   568 (2021). TransUnion also confirms that “[a] plaintiff must demonstrate standing ‘with the
   manner and degree of evidence required at the successive stages of the litigation.’ ” Id. (quoting
   Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)). TransUnion did not “address the distinct
   question whether every class member must demonstrate standing before a court certifies a class.”
   141 S. Ct. at 2208 n.4. However, given that Plaintiff’s class is certified, its identification plan
   must identify class members with standing. Plaintiff’s plan fails to meet this burden.
                  E.     At a Minimum, Class Members Should be Required to Present Documents
                         Showing Fax Received
                  Although Eurton asserts that Plaintiff’s class “flunks” the superiority test per Mullins,
   Eurton asserts that at the very least, class members should be required to show a phone bill or
   other record of receipt of a fax. The Seventh Circuit in Mullins recognized “that the risk of
   mistaken or fraudulent claims is not zero. But courts are not without tools to combat this problem
   during the claims administration process.” Mullins, 795 F.3d at 667. It specified the following:

                  They can rely, as they have for decades, on claim administrators, various auditing
                  processes, sampling for fraud detection, follow-up notices to explain the claims
                  process, and other techniques tailored by the parties and the court to take into
                  account the size of the claims, the cost of the techniques, and an empirical
                  assessment of the likelihood of fraud or inaccuracy.
   Id.
                  The Court in Birchmeier held that the combination of affidavits and class members phone
   records could suffice for ascertainability.         302 F.R.D. at 248, 256. Plaintiff’s cited authority
   Abboud v. Agentra, LLC, No. 3:19-CV-00120-X, 2020 WL 5526557, at *4 (N.D. Tex. Sept. 14,
   2020) also states that “the text class could provide documentation in the form of a picture of the
   text message, a record from a cell phone bill, or some other objective proof.”
                  In our case, given the issues set forth above, at a minimum, the Court should require a
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   phone bill or fax receipt as part of a class member’s proof, rather than just an affidavit.


   IV.            CONCLUSION
                  Given the deficiencies in Plaintiff’s plan to ascertain class members, Eurton asks that this
   Court either decertify the class, at least narrow the class to those on Eurton’s Fax List, or require
   proof other than a mere affidavit, but a phone bill or fax receipt.


   November 1, 2021                                             /s/ David J. Kaminski
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                                         CERTIFICATE OF SERVICE
                  I hereby certify that, on the 1st day of November 2021, a true and correct copy of the
   above and foregoing has been served by electronic notification by filing with the Clerk of Court
   using the CM/ECF system, which sent notification via e-mail to the following:


                  ppeluso@woodrowpeluso.com
                  tsmith@woodrowpeluso.com
                  woodrow@woodrowpeluso.com


                                                                       /s/ David J. Kaminski
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